904 F.2d 46
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.IN re David M. ALLGEIER.
    No. 90-1072.
    United States Court of Appeals, Federal Circuit.
    May 18, 1990.
    
      Judgment
      PER CURIAM.
    
    
      1
      Before PAULINE NEWMAN and MICHEL, Circuit Judges, and SAMUEL CONTI, Senior District Judge*.
    
    
      2
      AFFIRMED.  See Fed.Cir.R. 36.
    
    
      
        *
         The Honorable Samuel Conti, United States District Court for the Northern District of California, sitting by designation pursuant to 28 U.S.C. Sec. 293(a)
      
    
    